Case 11-17348-elf    Doc 28     Filed 01/22/18 Entered 01/22/18 16:55:38         Desc Main
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                    IN	THE	UNITED	STATES	BANKRUPTCY	COURT		
                  FOR	THE	EASTERN	DISTRICT	OF	PENNSYLVANIA	
                                             	
  RE:	Mark	Sciumeca	 	        	       	      :	    Bk.	No.:	11	–	17348	elf	
  	     	      	      	       	       	      :	
  	     	      	      	       	       	      :	
          Motion	to	Withdraw	Pursuant	to	Local	Bankruptcy	Rule	2091	-1	
                                             	
        Demetrius	J.	Parrish,	Jr.,	Esquire	hereby	moves	this	Court	for	an	Order	for	

  Leave	to	Withdraw	as	counsel.		In	support	of	this	motion,	Counsel	avers	as	follows:	

         1.         On	October	11,	2017,	Counsel	entered	his	appearance	in	place	of	

                    Michael	A.	Cataldo,	Esquire.	

         2.         Debtor	retained	counsel	for	the	purpose	of	reopening	this	matter	to	

                    file	a	reaffirmation	agreement.		

         3.         Thereafter,	on	November	15,	2017,	this	Court,	reopened	the	above	

                    –		captioned	chapter	7	bankruptcy.		

         4.         Despite,	reopening	the	case,	debtor	and	counsel	disagree	with	the	

                    path	forward.	

         5.         On	January	19,	2018,	Debtor	elected	to	proceed	pro	se	without	

                    consulting	counsel.	

         6.         Counsel	believes	and	therefore	avers	that,	henceforth,	debtor	is	

                    better	served	proceeding	pro	se.		

                    WHEREFORE,	Counsel,	Demetrius	J.	Parrish,	Jr.,	Esquire	requests	

  			    that	this	Court	grant	leave	to	withdraw	as	debtor’s	counsel.		

                  	    	       	       	      Respectfully	Submitted:	
  Date:	January	22,	2018	      	       	      /s/	Demetrius	J.	Parrish,	Jr.	 	     	
  	      	      	      	       	       	      Demetrius	J.		Parrish,	Jr.,	Esquire	
  	      	      	      	       	       	      7715	Crittenden	Street,	#360	
  	      	      	      	       	       	      Philadelphia,	Pa.	19118	
  	      	      	      	       	       	      (215)	735	–	3377/(215)	827-5420	f	
